    Case 6:17-cr-06016-CJS-JWF Document 70 Filed 12/05/18 Page 1 of 22



UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
                                                   17-cr-6016
UNITED STATES,                                     17-cr-6017
                       Plaintiff
             v.                                    Memorandum in
                                                   Opposition to the
RICHARD LEON WILBERN,                              OCME’s Request to
                                                   Modify the Non-
                       Defendant.              _   conformity Order




     In response to defendant Richard Wilbern’s Brady request for

disclosure of “all non-conforming events” at the Office of the Chief

Medical Examiner of the City of New York [hereinafter OCME]

United States Magistrate Judge Jonathan W. Feldman ordered the

government to disclose the data and materials to defense counsel

(17-cr-6016, DI 63; 17-cr-6017, DI 87). The Order directed

disclosure of the non-conformity reports from 2011 through 2017

involving OCME employees who performed any work on or testing of

the DNA evidence in the case. The Court also directed the

government to notify the Court “immediately” if “OCME refuse[s] to

produce to the government the data subject to [t]his order” (17-cr-

6016, DI 63, at 2; 17-cr-6017, DI 87, at 2).
    Case 6:17-cr-06016-CJS-JWF Document 70 Filed 12/05/18 Page 2 of 22




     Circumventing the government’s role in this case, Florence

Hutner, General Counsel for OCME, faxed a letter requesting that

the Court order protection of the documents to be produced and, if

the Court failed to do so, indicated that it would “redact the non-

conformity reports relating to cases other than this proceeding to

protect information relating to other criminal defendants and OCME

analysts not involving with the testing and analysis in this case”

(see 17-cr-6016, DI 67, Enc. [hereinafter “OCME Letter”]; 17-cr-

6017, DI 95, Enc. (same)).



     The OCME’s request should be rejected. First, the OCME is

not a litigant in this case, and has not moved to intervene in this

case. Any issues should be raised by the government. However, the

government believes that it has no interest in pursuing the issues

raised by the OCME. Second, the OCME’s request is merely a

subterfuge to ensure that the veil of secrecy that exists as to the

inner workings of its forensic DNA lab remains in place. In light of

the ever growing number of scandals taking place involving

forensics laboratories around the country – in addition to the OCME

– the Court should insist that its order be complied with and that
                                    2
    Case 6:17-cr-06016-CJS-JWF Document 70 Filed 12/05/18 Page 3 of 22




the non-conformity reports be disclosed, unredacted, to ensure the

protection of Mr. Wilbern’s due process rights. Finally, contrary to

the OCME’s argument, the deliberative process privilege does not

apply to the non-conformity reports. Even if the privilege applied,

disclosure is not barred given that the reports were seemingly

incorporated into the conclusions reached by the laboratory. The

OCME has not complied with the Court’s Order; as a result the

Court should order disclosure of the non-conformity reports

forthwith. Alternatively, the Court should order the OCME’s General

Counsel to appear to explain, and submit to cross-examination, as

to why the OCME should be excused from complying with the

Court’s Order.



                              BACKGROUND

     Mr. Wilbern is charged with being a felon in possession of a

firearm, in violation of 18 U.S.C. §§ 922(g)(1) & 924(a)(2) (17-cr-

6016, DI 6). In a separate two-count indictment he is also charged

with credit union robbery, in violation of 18 U.S.C. §§ 2113(a) & (e),

and murder with a firearm in furtherance of a crime of violence, in

violation of 18 U.S.C. §§ 924(c)(1)(A)(iii) & 924(j)(1) (17-cr-6017, DI
                                    3
    Case 6:17-cr-06016-CJS-JWF Document 70 Filed 12/05/18 Page 4 of 22




15). These allegations arose from the 2003 robbery of the Xerox

Federal Credit Union, located in Webster, New York.



     In Early February of 2018, Mr. Wilbern demanded the

disclosure of Brady and Giglio material in addition to discovery

pursuant to FED.R.CRIM.P. 16(a) (see 17-cr-6016, DI 25 at 3-8; see

also 17-cr-6017, DI 39 at 3-8). Mr. Wilbern also requested the

government to confirm beyond the discovery materials already

provided that it did not intend to rely upon expert testimony outside

of the areas it had previously identified, and he requested additional

material related to DNA testing be provided in compliance with Rule

16(a)(1)(G) (see 17-cr-6016, DI 25 at 8-10; see also 17-cr-6017, DI

39 at 8-10). On March 6, 2018, the Court ordered the government

“to provide all Brady material in its possession to the defense no

later than the close of business on Friday, March 9, 2018.

Thereafter, the Government is to provide the defense additional

Brady material on an on-going basis as it becomes aware of such

additional information” (see 17-cr-6016, DI 28 [hereinafter “Brady

Order”]; see also 17-cr-6017, DI 44 (same)). Months later, in July of

2018, Mr. Wilbern again sought the disclosure of Brady and
                                    4
    Case 6:17-cr-06016-CJS-JWF Document 70 Filed 12/05/18 Page 5 of 22




discovery materials, in particular certain non-conforming event

reports of the OCME (see 17-6016, DI 60 at 3; see also 17-cr-6017,

DI 80 at 3). As was fully aired during oral argument on October 23,

2018, the parties had attempted to reach an agreement regarding

the disclosure of these materials however the OCME refused to

release the non-conforming event reports aside from those involving

Craig O’Connor and Michele Egerman who rendered final

conclusions as to the DNA testing in the case at bar. In addition,

the OCME refused to release even these materials unless the

defense agreed to a protective order. Id. The OCME supplied its

proposed language which referred to another defendant in an

apparently unrelated New York State Case. This information and

the proposed order was the subject of Mr. Wilbern’s July 2018

motions (see 17-6016, DI 60 at 3 and Exhibit A (proposed protective

order); see also 17-cr-6017, DI 80 at 3 and Exhibit A (same)).



     After reviewing Mr. Wilbern’s Brady request, the government’s

response and arguments made during a hearing, at oral argument

on October 23, 2018, the Court ordered the government to “obtain

from OCME the requested ‘non-conforming event’ data” (17-cr-
                                    5
    Case 6:17-cr-06016-CJS-JWF Document 70 Filed 12/05/18 Page 6 of 22




6016, DI 63, at 2; 17-cr-6017, DI 87 at 2). Additionally, the

government was directed to disclose the data and materials to the

defense. The Court went on to require the government to notify the

Court “[s]hould OCME refuse to produce to the government the data

subject to [t]his order” (17-cr-6016, DI 63, at 2; 17-cr-6017, DI 87

at 2). The written version of the Order was entered on November 5,

2018 (17-cr-6016, DI 63; 17-cr-6017, DI 87).



     On November 21, 2018, more than one month after the Court

issued its oral Order following oral argument and more than two

weeks after the written version of the Order was entered, Florence

Hutner, General Counsel to the OCME, circumvented the Court’s

order by moving the Court, through an e-mailed letter, for a

protection order on the documents the government was directed to

produce (see OCME Letter). According to the OCME it identified 459

pages of nonconformity reports that must be produced, however the

OCME insisted that before the records would be produced a

protection order was needed to ensure “open and honest

communication to expose even the most minor of errors, and in

protecting its employees’ personnel records” (see OCME Letter, at
                                    6
    Case 6:17-cr-06016-CJS-JWF Document 70 Filed 12/05/18 Page 7 of 22




3). This, according to the OCME, “outweigh[s] any benefit in making

the documents generally public” (see OCME Letter, at 3). The

OCME indicated that, if the Court denies its request for a protection

order, it will take it upon itself to redact the documents it has been

ordered to produce (see OCME Letter, at 3).



                               ARGUMENT

     I.   The OCME Cannot Intervene in this Case.

     The OCME is a governmental agency within New York City

that plays a role in public health and the criminal justice system.

See https://www1.nyc.gov/site/ocme/about/about-ocme.page (last

accessed 12/4/18). Though the government sought the OCME’s

assistance in this case, as they have with other law enforcement

agencies, the OCME is not a party to this case. Rather than comply

with the Court’s orders, in any fashion, the OCME took it upon

itself to ask the Court to modify the non-conformity order. The

OCME’s actions conflict with the Court’s order and, if allowed,

would set a dangerous precedent that would allow any party to

intervene in a criminal prosecution.



                                    7
    Case 6:17-cr-06016-CJS-JWF Document 70 Filed 12/05/18 Page 8 of 22




     Unlike the Federal Rules of Civil Procedure, the Federal Rules

of Criminal Procedure do not provide a mechanism for non-parties

to intervene in criminal cases. See United States v. Aref, 533 F.3d

72, 81 (2d Cir. 2008). That said, motions to intervene in criminal

cases are not uncommon when a non-party has an interest and

would not otherwise be heard. Id. (discussing motions to intervene

in order to assert the public’s First Amendment Right of access to

criminal proceedings); see also Motion to Intervene, United States v.

Leonardo, 129 F.Supp.2d 240 (W.D.N.Y. 2001) (No. 01-cr-6001)

(media outlets WORK-TV and R-News seeking to intervene). That is,

the intervener has neither the plaintiff nor the defendant to

represent its interests. These circumstances are not present in Mr.

Wilbern’s case given that the government can, and was directed to,

communicate the OCME’s interests to the Court.



     The non-conformity order directed what should happen in the

event that the OCME could not, or would not, produce the non-

conformity reports. The government was directed to notify the Court

if this situation arose (17-cr-6016, DI 63, at 2; 17-cr-6017, DI 87 at

2). Rather than attempt to informally inject itself into the
                                    8
     Case 6:17-cr-06016-CJS-JWF Document 70 Filed 12/05/18 Page 9 of 22




proceedings, the OCME should have informed the government of its

issue(s) with the non-conformity order and allowed the government

to bring the matter to the Court’s attention.



     The government routinely advocates on behalf of third parties

in criminal cases. For example, child exploitation victims do not file

their own motions seeking restitution. Rather, the requests are

made through the government. See Govt’s Sentencing Statement at

1, United States v. Picone, No. 17-cr-85, 2018 WL 4941782

(E.D.N.Y. Oct. 12, 2018); Govt’s Supp. Sentencing Statement,

United States v. Lundquist, No. 10-cr-417 (N.D.N.Y. Aug. 13, 2014);

see also 18 U.S.C. § 3664(d)(1) (“Upon the request of the probation

officer, but not later than 60 days prior to the date initially set for

sentencing, the attorney for the Government, after consulting, to

the extent practicable, with all identified victims, shall promptly

provide the probation officer with a listing of the amounts subject to

restitution.”).



     Allowing governmental agencies to circumvent the United

States Attorney’s Office to challenge this Court’s orders during a
                                     9
    Case 6:17-cr-06016-CJS-JWF Document 70 Filed 12/05/18 Page 10 of 22




criminal prosecution opens the door to allow any organization or

individual to challenge a disagreed-with order. Such precedent

would invite members of the community to challenge pre-trial

release/detention orders. Such precedent would open the door for

crime victims to file their own pretrial motions. Such precedent

could lead to the general public seeking direct participation in

criminal prosecutions.



     To date, the government’s only comment regarding the

OCME’s e-mailed letter is, “I don’t have a dog in that fight.” E-mail

from Douglas Gregory, AUSA, to Anne Burger, AFPD (Nov. 21, 2018,

11:16 P.M.) (on file) (pertaining to defense counsel’s request to file a

response to the OCME’s letter). Given that the government has

taken no position on this matter, and that the OCME has identified

and compiled the documents subject to the non-conformity

disclosure Order, the Court should direct the government to have

the OCME produce the documents, forthwith, in unredacted format.




                                    10
    Case 6:17-cr-06016-CJS-JWF Document 70 Filed 12/05/18 Page 11 of 22




     II.   The OCME’s request would implicate Mr.
           Wilbern’s due process rights by maintaining the
           veil of secrecy over the laboratory’s work.

     The OCME claims that disclosure of the non-conformity

reports “would likely have a chilling effect on the free exchange of

information within the [OCME’s] laboratory” (OCME Letter, at 2). It

is difficult to fathom that counsel for a public laboratory genuinely

believes that OCME scientists will conceal information regarding

their errors in analysis and testing from the lab itself unless they

are ensured that their errors will not be revealed to the outside

world. If true, the need for disclosure of the non-conforming event

reports is even more compelling. Far more likely, regardless of

whether the OCME is required to comply with the Court’s Order,

these scientists will report such errors internally as they are no

doubt required to do or face discipline and/or dismissal. The

OCME’s actual motivation in failing to comply with the Court’s

Order is to perpetuate a veil of secrecy over its conduct and

functioning. Yet, veils of secrecy in the operation of laboratories

used to analyze forensic data have resulted in scandals around the

country. See, e.g., Samantha Ketterer, Houston crime lab fires

investigator after alleged testing policy violation, HOUSTON CHRON.,
                                    11
    Case 6:17-cr-06016-CJS-JWF Document 70 Filed 12/05/18 Page 12 of 22




Oct. 26, 2018, available at,

https://www.chron.com/news/houston-texas/

houston/article/Houston-forensic-lab-fires-investigator-after-

13338820.php; S.P. Sullivan, More than a thousand drug cases will

be tossed after N.J. State Police lab scandal, NJ COM, May 10, 2018,

available at, https://www.nj.com/politics/ index.ssf/2018/05/

judge_gives_ag_deadline_for_dealing_with_drug_case.html; Gary

Craig, Former Monroe County DA Green, leads agency accused in

DNA Controversy, DEM. & CHRON., June 1, 2018, available at,

https://www.democratandchronicle.com/story/news/2018/06/01

/ny-division-criminal-justice-services-allegedly-falsified-dna-mike-

green-brian-gestring/663103002/; Tom Jackman, Massachusetts

prosecutors to throw out 8,000 convictions in second drug lab

scandal, WASH. POST, Dec. 28, 2017, available at, https://

www.washingtonpost.com/ news/true-crime/wp/2017/

12/28/massachusetts-prosecutors-to-throw-out-8000-convictions-

in-second-drug-lab-scandal/?utm_term=.aa2884febb04; NYS OIG,

REPORT OF INVESTIGATION OF THE MONROE COUNTY PUBLIC SAFETY

LABORATORY (June 2012) (finding amongst other problems,



                                    12
    Case 6:17-cr-06016-CJS-JWF Document 70 Filed 12/05/18 Page 13 of 22




deficiencies in the way in which the lab adequately reviewed a

biologists past work).



     The OCME, a publicly-funded laboratory, has inexplicably

shown a pattern of secrecy in matters ranging from its functioning

to the scientific foundations of its testing procedures. For example,

the OCME created a software program, FST, to interpret

complicated DNA mixtures. The OCME repeatedly refused to release

its source code for FST even in connection with Daubert challenges

to its admissibility in criminal cases. Instead, the lab claimed that it

should be kept secret to protect its economic value. Aislinn Kloss, A

Possible Alternative to Secretive DNA Analysis, November 27, 2017,

Yale Law School Media Freedom & Access Clinic

https://law.yale.edu/mfia/case-disclosed/possible-alternative-

secretive-dna-analysis (last accessed 12/5/2018). Yet it does not

appear that the lab has ever sought to monetize the tool. Ultimately,

the lab publicly released the software’s source code in the face of a

court ordered lifting of a protective order in United States v.

Johnson, 15-cr-565 (S.D.N.Y.). Not long after the code’s release, the

OCME announced that it was ceasing its use of FST. Lauren
                                    13
    Case 6:17-cr-06016-CJS-JWF Document 70 Filed 12/05/18 Page 14 of 22




Kirchner, ProPublica Seeks Source Code for New York City’s

Disputed DNA Software, PROPUBLICA (Sept. 25, 2017),

https://www.propublica.org/article/propublica-seeks-source-code-

fornew-york-city-disputed-dna-software [https://perma.cc/MR26-

SS26] (last accessed 12/5/2018).



     The OCME was similarly secretive with regard to the validation

studies underlying its low copy number DNA testing at issue in the

case at bar. The lab refused to release its validation studies for the

low copy number DNA testing for many years; the lab yielded only

when faced with the prospect of being ordered to do so in

connection with litigation regarding the testing procedure’s

admissibility in a criminal case. The excuse offered by Timothy

Kupferschmid, Director of the Forensic Biology section of the

OCME, in support of maintaining the secrecy of the validation

studies was “that if we were to release them publicly it would draw

confusion among the general public. Misunderstanding.” Stajic v.

City of New York, 16-cv-1258 (S.D.N.Y.), Document 108-3 at 22. Mr.

Kupferschmid also admitted that he had been advised by attorney

Florence Hutner not to release the studies. Id.
                                    14
    Case 6:17-cr-06016-CJS-JWF Document 70 Filed 12/05/18 Page 15 of 22




     The OCME has demonstrated that it will go to great lengths to

maintain its veil of secrecy. Several years ago, a senior OCME

scientist, Dr. Marina Stajic, joined two other members of the New

York State Commission on Forensic Science [“CFS”] and voted in

favor of a measure requiring the OCME to disclose the low copy

number DNA testing validation studies to the public or, in the

alternative, to the CFS members themselves. The measure failed. In

the aftermath, Dr. Stajic’s employment with the lab was terminated.

Attorney Florence Hutner repeatedly resisted the efforts of the

Commission’s Chair, Michael Green, to determine if Dr. Stajic had

been terminated for taking a position against the OCME in seeking

the release of its validation studies. Commissioner Green’s

frustration with the OCME’s culture of secrecy is evident in his

April 22, 2015 and June 29, 2015, letters to the New York State

Inspector General asking for an investigation into the OCME’s

conduct toward Dr. Stajic. See Exhibit A. In his first letter,

Commissioner Green reports that

     [r]ecent events at the OCME, which have also been the
     subject of a report by your office, have frequently put Dr.
     Stajic in a difficult position. Her role on the CFS may
                                    15
      Case 6:17-cr-06016-CJS-JWF Document 70 Filed 12/05/18 Page 16 of 22




       place her in direct conflict with the OCME. A concern was
       voiced during the last executive session regarding the
       conflict and Mr. Kupferschmid and Ms. Hutner did
       nothing to dispel that Dr. Stajic’s change in employment
       status was in retaliation for her role as a member of the
       CFS.

Id.



       Commissioner Green persisted in his efforts to obtain the help

of the Inspector General in his June 2015 letter:

       If, in fact, Dr. Stajic was fired for taking a position on a
       policy with which Mr. Kupferschmid disagreed, such
       conduct arguably could rise to the level of ‘misconduct
       substantially affecting the integrity of forensic science
       results…’

Id.



       The OCME suggests that disclosure of the non-conformity

reports is unnecessary because of internal checks, and because

their work is overseen through its accrediting bodies, including –

interestingly - the CFS (OCME Letter, at 1-2). We do not dispute

that “internal oversight mechanisms should be reinforced by

external oversight.” Alicia M. Hilton, Guilty Until Proven Innocent:

Evidence Tampering, Drug and Crime Lab Misconduct and Law


                                      16
    Case 6:17-cr-06016-CJS-JWF Document 70 Filed 12/05/18 Page 17 of 22




Enforcement Ethics, 65 RUTGERS L. REV. COMMENT. 32, 36 (2012).

Nonetheless, we cannot rely on forensic laboratories to police

themselves.



     Even within the agency charged with oversight of the OCME

problems have come to light. Brian Gestring, the former forensics

director of the New York States Division of Criminal Justice Services

[hereinafter DCJS] claims that Michael Green, the Executive

Commissioner of DCJS and Chair of the CFS, provided false

information to a state forensic science commission. Brendan J.

Lyons, Fired DCJS director accuses commissioner of misleading

oversight panel, TIMES UNION, June 1, 2018, available at,

https://www.timesunion.com/ news/article/Fired-DCJS-director-

accuses-commissioner-of-12961241.php. He also claimed that

Green failed to disclose “that the agency had three ‘catastrophic’

cases in the past year in which it misidentified suspects who had

been linked to crimes through DNA.” Id. Though DCJS does not

perform the laboratory analysis itself, this is significant, according

to Gestring, because it is DCJS “that makes the identification once

the lab analysis is completed.” Id.; see also Craig, Former Monroe
                                    17
    Case 6:17-cr-06016-CJS-JWF Document 70 Filed 12/05/18 Page 18 of 22




County DA Green, leads agency accused in DNA controversy

(discussing how Green minimized DCJS’ role in identifying a

suspect through the DNA process).



     After raising the issue in an “open letter” to the Commission,

Gestring and another member of the Committee who wished to

discuss reporting non-conformances in the state databank, were

removed from the Commission. Brian Gestring, Letter: Mistakes

abound at state DNA databank, TIMES UNION, July 8, 2018, available

at, https://www.timesunion.com/opinion/article/Letter-Mistakes-

abound-at-state-DNA-databank-13058507.php. The Commission

never discussed the issues raised by Mr. Gestring. Id.



     The OCME’s averments that the non-conforming event reports

cannot be disclosed, or should be redacted before disclosure, only

serves as a tool to deceive the Court, the defense and further

promulgate the myth that forensic science is inscrutable and

infallible. See Hilton, 65 RUTGERS L. REV. COMMENT. at 36. One way

to bring to light to the problems that may exist in the OCME in the

context of Mr. Wilbern’s defense is to allow the defense access to the
                                    18
    Case 6:17-cr-06016-CJS-JWF Document 70 Filed 12/05/18 Page 19 of 22




unredacted non-conformity reports. As former Associate Justice

Louis D. Brandeis concluded “[s]unlight is said to be the best of

disinfectants.” Other People's Money 62 (1933)).



     Thus, it is necessary to lift the veil as to the non-conforming

events that have taken place within the OCME’s low copy number

DNA lab by those analysts who worked on the evidence in this case.

The Court should compel the OCME to comply with the Order.



     III.   The deliberative process privilege does not
            preclude disclosure of the non-conformity
            reports.

     The OCME relies on the deliberative process privilege, also

known as the official information privilege, to support its claim that

disclosure would undermine candid discussion amongst employees

of the OCME laboratory (OCME Letter, at 3 (citing cases)). Contrary

to the OCME’s averment, the deliberative process privilege does not

apply to all internal communications within a governmental agency.

Instead, the privilege applies to documents pertaining to the

deliberative process associated with the development of

governmental policies. See Grand Cent. Partnership v. Cuomo, 166
                                    19
    Case 6:17-cr-06016-CJS-JWF Document 70 Filed 12/05/18 Page 20 of 22




F.3d 473, 482 (2d Cir. 1999). Given that the non-conformity reports

are not produced in the development of agency policy, the privilege

should not apply.



     Assuming, arguendo, that the Court finds that the privilege

applies because the non-conformity reports relate to a governmental

decision, i.e., the report of the DNA analysis, it does not mean that

the privilege bars its disclosure. National Council of La Raza v.

Department of Justice, 411 F.3d 350, 356 (2d Cir. 2005). Disclosure

can be required if the agency adopted or incorporated by reference

documents into the final decision. Id. “In such a circumstance, the

document loses its predecisional and deliberative character, and

accordingly, the deliberative process privilege no longer applies.” Id.

Here, the non-conformity reports have likely been adopted into such

final reports. As such, they have lost their predecisional character

and should be disclosed.



     Accordingly, the deliberative process privilege does not

preclude disclosure of the non-conformity reports.



                                    20
    Case 6:17-cr-06016-CJS-JWF Document 70 Filed 12/05/18 Page 21 of 22




                               CONCLUSION

     The OCME has identified 459 pages of non-conformity reports

related to lab personnel who have worked on the DNA in Mr.

Wilbern’s case. There is no basis for the OCME to not comply with

this Court’s order and turn over the non-redacted reports to the

government, forthwith. The reports have been identified, and are

readily available. Failure to disclose is merely another example of a

government forensics laboratory struggling to conceal problems

within their lab. Ordering compliance will lift the veil of secrecy and

enable to the defense to effectively defend Mr. Wilbern. And finally,

contrary to any arguments made by the OCME, the deliberative

process privilege does not apply to the non-conformity reports given

that the reports do not pertain to policies made by the OCME.



     Accordingly, the OCME should be ordered to turn over the

reports forthwith. Alternatively, the Court should order the General

Counsel to appear at a hearing for questioning under oath, as to

why the OCME failed to comply with this Court’s Order.



                                    21
      Case 6:17-cr-06016-CJS-JWF Document 70 Filed 12/05/18 Page 22 of 22




DATED:       December 5, 2018
             Rochester, New York



                                    Respectfully submitted,


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cc:    Douglas E. Gregory, AUSA (Via CM-ECF)
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                                      22
